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 5

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   United States of America
 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:02-CR-005050 AWI

12                                  Plaintiff,            STIPULATION REFERRING MOTION FOR
                                                          SENTENCE REDUCTION TO FEDERAL
13                           v.                           DEFENDER’S OFFICE AND PROBATION
                                                          OFFICE AND ORDER THEREON
14   EDUARDO PANO CANO,

15                                 Defendant.

16

17          The Court is in receipt of a motion to reduce a criminal sentence pursuant to Title 18, United

18 States Code, Section 3582(c)(2). The Court refers this motion to the Probation Office (Probation

19 Officers Hubert Alvarez and/or Melinda Peyret) and the Office of the Federal Defender and Assistant

20 Federal Defender David M. Porter, pursuant to General Order No. 546. The Federal Defender’s Office

21 shall have 30 days from the date the Court approves the stipulation/order to conduct an initial review of

22 the motion to determine the status of representation of the defendant.

23          1.       If Federal Defender’s Office determines that the defendant is eligible for representation

24 and agrees to represent the defendant, a representative of the Federal Defender’s Office shall file a

25 notice of appearance in the case. If the matter has been referred to panel counsel, a copy of this order

26 shall be forwarded by the Federal Defender’s Office to appointed panel counsel who shall then file a
27 notice of appearance in the case.

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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
                 Case 1:02-cr-05050-AWI Document 323 Filed 12/12/14 Page 2 of 2

 1          2.       The notice of appearance shall indicate whether counsel intends to supplement the

 2 defendant’s motion.

 3          3.       If the defendant does not intend to supplement the motion, the government’s response

 4 will be due 14 days following counsel’s notice of appearance.

 5          4.       If defendant’s counsel intends to supplement the defendant’s motion, then the notice of

 6 appearance shall indicate the date upon which the supplement will be filed and the date upon which the

 7 government’s response shall be due. Such dates should be mutually agreeable to the parties.

 8          5.       If the parties agree that a hearing is necessary, the notice of appearance shall include the

 9 date of the hearing, preferably no earlier than two weeks after the government’s response is filed. If the

10 parties are not in agreement that a hearing is necessary, that issue should be addressed in the parties’

11 respective filings.

12          6.       Should no counsel enter an appearance on behalf of the defendant, the government will

13 file a response within 14 days of the expiration of the 30-day period referred to above.

14          7.       Upon review of the motion and response, the Court will determine whether oral argument

15 or hearing will aid its determination of the motion and notify counsel of its decision.

16 Dated: December 12, 2014                                  BENJAMIN B. WAGNER
                                                             United States Attorney
17

18                                                           /s/ Kathleen A. Servatius
                                                             KATHLEEN A. SERVATIUS
19                                                           Assistant United States Attorney
20
     Dated: December 12, 2014                                HEATHER E. WILLIAMS
21                                                           Federal Defender
22
                                                             /s/ David M. Porter
23                                                           DAVID M. PORTER
                                                             Assistant Federal Defender
24                                                           Attorney for Defendant
25
     IT IS SO ORDERED.
26
27 Dated: December 12, 2014
                                                    SENIOR DISTRICT JUDGE
28

      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
